O AO 247 (N C/W 03/08) O rder Regarding M otion for Sentence Reduction



                                        U NITED STATES D ISTRICT COURT
                                                                           for the
                                                        Western District of North Carolina

                     United States of America                                )
                                v.                                           )
                                                                             )   Case No: 5:00CR47-12
                     Maricka Wanta Corpening
                                                                             )   USM No: 16442-058
Date of Previous Judgment: 6/17/08                                           )   Chiege O. Kalu Okwara
(Use Date of Last Amended Judgment if Applicable)                            )   Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
         DENIED. / GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 115         months is reduced to 92 months                 .

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                35                                        Amended Offense Level:              33
Criminal History Category:             IV                                        Criminal History Category:          IV
Previous Guideline Range:              235         to 293        months          Amended Guideline Range:            188            to 235   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
/ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 Other (explain): Defendant’s reduction of sentence on June 17, 2008 pursuant to Rule 35(b) was based solely on the
                     Government’s representation that Defendant provided substantial assistance to the Government post-
                     sentencing. The Court expressly declined to consider the impact of the retroactive application of
                     Amendment 706 at that time.

III. ADDITIONAL COMMENTS
It is further ordered that as a condition of supervised release the defendant shall submit to the local Residential Reentry Center for a period not to
exceed 90 days, with work release, at the direction of the U.S. Probation Officer.o consider



Except as provided above, all provisions of the judgment dated                       6/17/08              shall remain in effect.
IT IS SO ORDERED.

Order Date:          December 18, 2008



Effective Date: December 27, 2008
                       (if different from order date)



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